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         NIKON CORPORATION
    14   and NIKON INC.
    15
                                  UNITED STATES DISTRICT COURT
    16
                                CENTRAL DISTRICT OF CALIFORNIA
    17
                                             WESTERN DIVISION
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    19
         CARL ZEISS AG and ASML                    Case No. 2:17-cv-03221 RGK (MRWx)
    20   NETHERLANDS, B.V.,
                                                   DEFENDANTS NIKON
    21                         Plaintiffs,         CORPORATION AND NIKON
                                                   INC.’S OBJECTIONS TO
    22           v.                                DEMONSTRATIVE EXHIBITS
                                                   FOR DR. JOHN J. P. KELLY
    23   NIKON CORPORATION, SENDAI
         NIKON CORPORATION, and                    Trial Date:   July 11, 2018
    24   NIKON INC.,                               Time:         9:00 a.m.
                                                   Courtroom:    850, 8th Floor
    25                         Defendants.
                                                   Hon. R. Gary Klausner
    26
    27
    28
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     1            Plaintiffs have disclosed several prejudicial and irrelevant demonstrative
     2   slides to use with their expert Dr. John Kelly. Many of the subjects and/or opinions
     3   disclosed on the slides were never disclosed in Dr. Kelly’s expert report.
     4   Accordingly, Plaintiffs should not be allowed to present the jury with demonstrative
     5   exhibits containing references to prejudicial and irrelevant evidence, or references
     6   to expert opinions that were never disclosed in any report or at any expert
     7   deposition. These slides should therefore be excluded.
     8            A.    PDX 628 – 6381 Should Be Excluded Because Plaintiffs Failed to
                        Present Evidence on Marking in Their Case-in-Chief and Dr.
     9                  Kelly Did Not Substantively Opine on Marking in His Expert
                        Report
    10
                  Plaintiffs bear the affirmative burden of proving compliance with the
    11
         marking statute, including the burden of proving—at trial—that the unmarked
    12
         products identified by Nikon during discovery do not practice the asserted patents.
    13
         Arctic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350, 1367 (Fed. Cir. 2017)
    14
         (“the burden of proving compliance with marking is and at all times remains on the
    15
         patentee”) (emphasis added).2 Plaintiffs failed to carry that burden because they
    16
         failed to put on any evidence for marking issues during their case-in-chief. All of
    17
         their demonstrative exhibits regarding marking (PDX 628-630) should therefore be
    18
         excluded as improper and irrelevant.
    19
                  Several of Plaintiffs’ marking slides are also improper for a number of
    20
         additional reasons. PDX 629 and 636 refer to the HP products that practice the
    21
    22   1
             All slides referenced in these objections are attached as Exhibit A.
    23   2
          As found by the Court, Nikon has already met the “low bar” of its burden of
    24   production. (ECF No. 249 at 17-18.) (In its Order for Partial Summary Judgment,
         explaining “Defendants additionally identified that HP is licensed to sell products
    25
         practicing the ’792 and ' 167 Patents via a licensing agreement which Defendants
    26   allege does not require HP to mark the patented products. This is sufficient to meet
    27   Defendants' burden of production because Defendants articulated “specific
         unmarked products” which they believe practice the patents. Arctic Cat, 876 F.3d at
    28   1368 (explaining that the alleged infringer's burden of production is a “low bar.”).
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     1   ’792 and ’167 Patents as “discontinued HP cameras [and tablet].” But whether HP
     2   discontinued production and sale of its cameras and tablets is irrelevant to the
     3   marking analysis. There is no exception in 35 U.S.C. § 287 for products that are no
     4   longer being sold. These irrelevant statements will only serve to improperly
     5   mislead the jury regarding marking requirements. PDX 629 and 636 should be
     6   excluded under FRE 402 and 403.
     7          PDX 630-632 are improper because they attempt to shift Plaintiffs’ burden
     8   on marking to Nikon. PDX 630 argues that “Nikon provided analysis only for
     9   claims 1 and 28.” PDX 631 and 632 assert that there is “no evidence” that certain
    10   limitations are present in the HP products. But Nikon need not provide analysis on
    11   any claims, nor is Nikon required to present any evidence that the HP products
    12   practice the asserted patents’ claims. “The burden of proving compliance with
    13   marking is and at all times remains on the patentee.” Arctic Cat, 876 F.3d at 1367.
    14   Thus, Plaintiffs, not Nikon, must adduce sufficient evidence at trial to affirmatively
    15   prove that the HP products do not practice any of the ’792 and ’167 Patents’ claims.
    16   The assertions in PDX 630-632 imply otherwise, and are therefore improper,
    17   prejudicial, and contrary to well-established law. The slides should be excluded
    18   under FRE 402 and 403.
    19          PDX 630, 633, 634, 638 each contains expert opinions regarding marking
    20   that were never properly disclosed during discovery. PDX 630, 633, and 634
    21   include references to claims 23 and 27 of the ’792 Patent. But Dr. Kelly failed to
    22   disclose any opinions with respect to those claims in his report or at his deposition.
    23   PDX 634 asserts that “‘There are no printing images’ is not user error.” Dr. Kelly
    24   never disclosed this opinion in his report or at his deposition. PDX 638 argues that
    25   the “digital camera” and “sensing activation of viewfinder display” limitations are
    26   not found in the HP tablet. But again, Dr. Kelly never properly disclosed these
    27   theories in his report or at his deposition. These slides should therefore be excluded
    28   under Rules 26 and 37(c)(1); See Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259
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     1   F.3d 1101, 1106 (9th Cir. 2001).
     2          B.     PDX 602 Improperly Instructs the Jury on the Burden of Proof
     3          Plaintiffs’ PDX 602 improperly usurps the Court’s role of instructing the jury
     4   on the applicable law and burden of proof. PDX 602 references a statute and
     5   includes a depiction of the “clear and convincing evidence” burden of proof on
     6   scales of justice. This reference and depiction improperly instruct the jury on the
     7   applicable law and are prejudicial to Nikon.
     8          C.     PDX 605 and PDX 608 Improperly Include Expert Opinions Never
                       Disclosed Previously
     9
                PDX 605 and PDX 608 improperly reference expert opinions that Dr. Kelly
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         never disclosed in his report or at his deposition. For example, PDX 608 asserts
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         that “Toyofuku does not describe how the warning regarding zero frames is
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         provided.” An expert’s report must provide “a complete statement of all opinions
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         the witness will express and the basis and reasons for them.” Fed. R. Civ. P.
    14
         26(a)(2)(B)(1). Nikon will be highly prejudiced if Plaintiffs are allowed to present
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         at trial these never-disclosed expert opinions. The slides should therefore be
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         excluded. Fed. R. Civ. P. 37(c)(1); Yeti by Molly, 259 F.3d at 1106.
    17
                D.     PDX 625 and 627 Make Irrelevant and Misleading Assertions
    18                 About Non-Infringing Alternatives
    19          PDX 625 and 627 should be excluded because they make irrelevant
    20   assertions about the requirements for non-infringing alternatives. In PDX 625,
    21   Plaintiffs assert that Nikon’s proposed design-around is not a true design-around
    22   because “flashing and static arrows would still convey an error message.” But
    23   “flashing and static arrows” is not accused of infringement in this case, and Dr.
    24   Kelly never disclosed any such opinions in his report. The statement is therefore
    25   irrelevant and misleading. In PDX 627, Plaintiffs assert that the non-infringing
    26   alternative “[w]ould remove the benefit of the invention.” This is also irrelevant
    27   and misleading because “benefit of invention” is not a legal requirement for a non-
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     1   infringing alternative. Accordingly, PDX 625 and 627 should be excluded under
     2   FRE 402 and 403.
     3                                       CONCLUSION
     4          For the foregoing reasons, Nikon requests that the above-mentioned
     5   demonstrative slides be excluded.
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     7          Dated: July 17, 2018           Respectfully submitted,
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                                               VINCENT J. BELUSKO
     9                                         MORRISON & FOERSTER LLP
    10
    11                                         By: /s/ Vincent J. Belusko
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    12
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                                                      SENDAI NIKON CORPORATION;
    14                                                AND NIKON INC.
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